Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 1 of 39 Page ID #:1578




                                                                     U.S. DISTRiCTCOURT


                                                                 1'Y'Yl 2 2 LYW

                                                           CENTRAL




                         UNITED STATES DISTRICT COURT

                       CENTRAL DISTRICT OF CALIFORNIA


  THE ESTATE OF                 )
  SINOUN SAMANTHA PREAM,ET AL., )         CASE NO. CV 17-4295-TJH(FFMx)

                   Plaintiff(s),    )
                                          JURY.INSTRUCTIONS
             ~•                     )     PHASE 1
  THE CITY OF LONG BEACH,ET AL.,    )

                   Defendant.       )
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 2 of 39 Page ID #:1579




          Now that you have heard the evidence and the arguments, it is my duty to
   instruct you about the applicable law. It is your duty to follow the law as I will state
   it. You must apply the law to the facts as you find them from the evidence in the
   case. Do not single out one instruction as stating the law, but consider the
   instructions as a whole. Do not be concerned about the wisdom of any rule of law
   stated by me. You must follow and apply the law.


         The lawyers have properly referred to some of the governing rules of law in
   their arguments. Ifthere is any difference between the law stated by the lawyers and
   these instructions, you must follow my instructions.


         Nothing I say in these instructions indicates I have any opinion about the facts.
   You, not I, have the duty to determine the facts.


         You must perform your duties as jurors without bias or prejudice as to any
   party. The law does not permit you to be controlled by sympathy,prejudice,or public
   opinion. All parties expect that you will carefully and impartially consider all the
   evidence, follow the law as it is now being given to you, and reach a just verdict,
   regardless ofthe consequences.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 3 of 39 Page ID #:1580




         You may use the notes taken by you during the trial. However, the notes
   should not be substituted for your memory. Remember, notes are not evidence. If
   your memory should differ from your notes, then you should rely on your memory
   and not on your notes.




                                        ~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 4 of 39 Page ID #:1581




         Unless I state otherwise, you should consider each instruction given to apply
   separately and individually to each plaintiff and to each defendant in the case.




                                             `~l.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 5 of 39 Page ID #:1582




         This case should be considered and decided by you as a dispute between
   persons ofequal standing in the community,ofequal worth, and holding the same or
   similar stations in life. All persons stand equal before the law and are to be treated
   as equals.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 6 of 39 Page ID #:1583




         Although there is more than one defendant in this action, it does not follow
   from that fact alone that if one Defendant is liable to the Plaintiffs, both defendants
   are liable. Each Defendant is entitled to a fair consideration ofthe evidence. Neither
   Defendant is to be prejudiced should you find against the other. Unless otherwise
   stated, all instructions I give you govern the case as to each Defendant.




                                                r
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 7 of 39 Page ID #:1584




         Ifa lawyer asks ofa witness a question containing an assertion offact, you may
   not consider the assertion as evidence of that fact. The lawyer's questions and
   statements are not evidence.




                                           ~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 8 of 39 Page ID #:1585




         When I instruct you that a party has the burden ofproofon any proposition, or
   use the expression "if you find," or "if you decide," I mean that you must be
   persuaded, considering all the evidence in the case that the proposition is more
   probably true than not.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 9 of 39 Page ID #:1586




           During the trial,I sometimes ask a witness questions.Please do notthink I have
   any opinion about the subject matter of my questions. I may ask a question simply to
   clarify a matter, not to help one side ofthe case or harm another side.


           Remember at all times that you,asjurors, are the solejudges ofthe facts ofthis
   case.




                                              G.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 10 of 39 Page ID
                                 #:1587



       It is my duty to caution or warn an attorney who does something I believe is not
 in keeping with the rules ofevidence or procedure. You are not to draw any inference
 against the side I may have cautioned or warned during the trial.




                                           ~+
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 11 of 39 Page ID
                                 #:1588



       Testimony. and exhibits may be admitted into evidence during a trial only if
 they meet certain criteria or standards. It is a lawyer's the duty to object when the
 other side offers testimony or an exhibit that the lawyer believes is not properly
 admissible under the rules oflaw. Only by offering.an objection can a lawyer request
 and obtain a ruling from me on the admissibility ofthe evidence being offered by the
other side. You should not be influenced against any lawyer or the lawyer's client
because the lawyer has made objections.


       Do not attempt to interpret my rulings on objections as somehow indicating
how I think you should decide this case. I am simply making a ruling on a legal
question.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 12 of 39 Page ID
                                 #:1589



       Unless you are otherwise instructed, the evidence in the case consists of the
 sworn testimony of the witnesses regardless of who called the witness, all e~ibits
received in evidence regardless of who may have produced them, and all facts and
 events that may have been admitted or stipulated to.


       Statements and arguments by the lawyers are not evidence. The lawyers are
not witnesses. What they have said in their opening statement, closing arguments,
and at other times is intended to help you understand the evidence, but it is not
evidence. However, when the lawyers on both sides stipulate or agree on the
existence of a fact, unless otherwise instructed, you must accept the stipulation and
regard that fact as proved.


       Any evidence to which I have sustained an objection and evidence that I have
ordered stricken must be entirely disregarded.




                                          (~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 13 of 39 Page ID
                                 #:1590



       Generally speaking, there are two types of evidence presented during a trial —
 direct evidence and circumstantial evidence. "Direct evidence" is the testimony of
 a person who asserts or claims to have actual knowledge of a fact, such as an
 eyewitness. "Indirect or ,circumstantial" evidence is proof of a chain of facts and
 circumstances indicating the existence or nonexistence of a fact.


       The law generally makes no distinction between the weight or value to be given
to either direct or circumstantial evidence. A greater degree of certainty is not
required ofcircumstantial evidence. You are required to find the facts in accordance
with the preponderance ofall the evidence in the case, both direct and circumstantial.




                                           /~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 14 of 39 Page ID
                                 #:1591



       You are to consider only the evidence in the case. However, you are not
 limited to the statements of the witnesses. You may draw from the facts you find
 have been proved such reasonable inferences as seem justified in light of your
 experience.


      "Inferences" are deductions or conclusions that reason and common sense lead
 you to draw from facts established by the evidence in the case.




                                           /~( ,
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 15 of 39 Page ID
                                 #:1592



        If a party fails to produce evidence under that party's control and reasonably
 available to that party and not reasonably available to the adverse party,then you may
 infer that the evidence is unfavorable to the party who could have produced it and did
 not.




                                             /S .
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 16 of 39 Page ID
                                 #:1593



       Evidence as to any oral statements or admissions, claimed to have been made
 outside ofcourt by a party to any case,should always be considered with caution and
 weighed with great care. The person alleged to have made the alleged statement or
 admission may not have expressed clearly the meaning intended, or the witness
 testifying to an alleged admission may have misunderstood or may have misquoted
 what was actually said.


       However,when an oral statement or admission made outside ofcourt is proved
 by reliable evidence, that statement or admission may be treated as trustworthy and
should be considered along with all other evidence in the case.




                                          l(~ ..
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 17 of 39 Page ID
                                 #:1594



       Negligence is the failure to use reasonable care to prevent harm to oneself or
 to others.


       A person can be negligent by acting or by failing to act. A person is negligent
 if he does something that a reasonably careful person would not do in the same
 situation, or fails to do something that a reasonably careful person would do in the
 same situation.


       You must decide how a reasonably careful person would have acted in the
situation of Defendants Muhlenkamp and Domingo.


       You must, also, decide how a reasonably careful person would have acted in
Sinuon Samantha Pream's situation.




                                          l~.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 18 of 39 Page ID
                                 #:1595



       You are the sole judges ofthe credibility ofthe witnesses and the weight their
testimony deserves. You maybe guided by the appearance and conduct ofa witness,
 or by the manner in which a witness testifies, or by the character of the testimony
given, or by evidence contrary to the testimony.
       You should carefully examine all the testimony given,the circumstances under
which each witness has testified, and every matter in evidence tending to show
whether a witness is worthy of belief. Consider each witness' intelligence, motive
and state of mind, and demeanor or manner while testifying.
       Consider the witness' ability to observe the matters as to which the witness has
testified, and whether the witness impresses you as having an accurate recollection
ofthese matters. Also, consider any relation each witness may have with either side
ofthe case, the manner in which each witness might be affected by the verdict, and
the extent to which the testimony ofeach witness is either supported or contradicted
by other evidence in the case.
       Inconsistencies or discrepancies in the testimony ofa witness, or between the
testimony of different witnesses may or may not cause you to discredit such
testimony. Two or more persons seeing an event may see or hear it differently.
      In weighing the effect ofa discrepancy, always consider whether it pertains to
a matter ofimportance or an unimportant detail, and whether the discrepancy results
from innocent error or intentional falsehood.
      After making your own judgment, you will give the testimony ofeach witness
such weight,ifany,that you may think it deserves. In short, you may accept or reject
the testimony of any witness, in whole or in part.
      In addition, the weight of the evidence is not necessarily determined by the
number ofwitnesses testifying to the existence or nonexistence ofany fact. You may
find that the testimony ofa small number of witnesses as to any fact is more credible
than the testimony of a larger number of witnesses to the contrary.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 19 of 39 Page ID
                                 #:1596



       A law enforcement officer may use reasonable force to arrest a person when the
 officer has reasonable cause to believe that that person has committed or is
 committing a crime. However, the officer may use only that degree of force
 necessary to accomplish the arrest.


       The Plaintiffs claim that Defendants Muhlenkamp and Domingo used
 unreasonable force in arresting Sinuon Samantha Pream.


       To establish this claim,the Plaintiffs must prove all ofthe following as to each
defendant:
       1.    That the Defendant used force in arresting Sinuon Samantha Pream;
       2.    That the amount offorce used by the Defendant was unreasonable;
      3.     That Sinuon Samantha Pream was harmed; and
      4.     That the Defendant's use ofunreasonable force was a substantial factor
             in causing Sinuon Samantha Pream's harm.


      In deciding whether a Defendant used unreasonable force, you must consider
all of the circumstances of the arrest and determine what force a reasonable police
officer in the Defendant's position would have used under the same or similar
circumstances. Among the factors to be considered are the following:
     (a)     Whether Sinuon Samantha Pream reasonably appeared to pose an
             immediate threat to the safety ofthe defendants or others;
     (b)     The seriousness ofthe crime at issue; and
     (c)     Whether Sinuon Samantha Pream was actively resisting arrest or
             attempting to avoid arrest by flight; and
     (d)     The Defendant's tactical conduct and decisions before using force on
             Sinuon Samantha Pream.



                                          ~~.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 20 of 39 Page ID
                                 #:1597



       A substantial factor in causing harm is a factor that a reasonable person would
 consider to have contributed to the harm. It must be more than a remote or trivial
 factor. It does not have to be the only cause.ofthe harm.




                                        ~~, .
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 21 of 39 Page ID
                                 #:1598



       The Plaintiffs claim that Defendant Muhlenkamp violated their rights under the
 Fourteenth Amendment to be free from unlawful state inference with their familial
 relationship with Sinuon Samantha Pream.


       To prevail on this claim, the Plaintiffs must prove each of the following
 elements by a preponderance ofthe evidence:


       1.       The conduct of Defendant Muhlenkamp "shocks the conscience"; and
      2.     The conduct of Defendant Muhlenkamp caused Sinuon Samantha
Pream's death.


      Conduct "shocks the conscience" ifit is undertaken with either:(1)A purpose
to harm unrelated to legitimate law enforcement objectives, or (2) Deliberate
indifference.


      If an officer acted during a fast paced circumstance, presenting competing
public safety obligations, the Plaintiffs must prove that the Defendant acted with a
purpose to harm unrelated to legitimate law enforcement objectives.


      If an officer acted when actual deliberation was practical, then the officer's
deliberate indifference may shock the conscience.


      Deliberate indifference is the conscious or reckless disregard of the
consequences ofone's acts or omissions. Deliberate indifference requires more than
negligence or ordinary lack of due care.




                                       ~-f~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 22 of 39 Page ID
       In general, a seizure of a person is unreasonable
                                            #:1599       under the Fourth Amendment to the
United States Constitution if a police officer uses excessive force in defending himself or
others. Therefore,to prove an unreasonable seizure in this case,the Plaintiffs must prove by
a preponderance ofthe evidence that Defendants Muhlenkamp and Domingo used excessive
force when they shot Sinuon Samantha Pream.
       Under the Fourth Amendment, a police officer may use only such force as is
"objectively reasonable" under all ofthe circumstances. You mustjudge the reasonableness
ofa particular use offorce from the perspective of a reasonable officer on the scene and not
with the 20/20 vision of hindsight. Although the facts known to the officers are relevant to
your inquiry, the officers' subjective intent or motive is not relevant to your inquiry.
       In determining whether a Defendant used excessive force in this case, consider all of
the circumstances known to the officer on the scene, including:
       1.     The nature ofthe crime or other circumstances known to the officer at the time
              force was applied;
       2.     Whether Sinuon Samantha Pream posed an immediate threat to the safety of
              the officers or to others;
       3.     Whether Sinuon Samantha Pream was actively resisting arrest or attempting
              to evade arrest by flight;
       4.     The amount oftime the officer had to determine the type and amount offorce
              that reasonably appeared necessary, and any changing circumstances during
              that period;
       5.     The type and amount of force used;
       6.     The availability of alternative methods to take Sinuon Samantha Pream into
              custody or to subdue Sinuon Samantha Pream;
       7.     The number of lives at risk (motorists, pedestrians, police officers) and the
              parties' relative culpability; i.e., which party created the dangerous situation
              and which party is more innocent;
       8.     Whether it was practical for the officer to give warning of the imminent use
              offorce, and whether such warning was given;
       9.     Whether it should have been apparent to the officer that the person they used
              force against was emotionally disturbed; and
       10.    Whether there was probable cause for a reasonable officer to believe that the
              suspect had committed a crime involving the infliction or threatened infliction
              of serious physical harm.
      "Probable cause" exists when, under all ofthe circumstances known to the officer at
the time, an objectively reasonable police officer would conclude there is a fair probability
that Sinuon Samantha Pream has committed a crime or was committing a crime.
                                           ~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 23 of 39 Page ID
                                 #:1600



       If you find that a Defendant acted negligently, then you must decide whether

 Sinuon Samantha Pream's own negligence contributed to her death.



       To establish that Sinuon Samantha Pream's own negligence contributed to her

 death, a Defendant must prove both ofthe following:

             That Sinuon Samantha Pream was negligent; and

      2.     That Sinuon Samantha Pream's negligence was a substantial factor in

             causing her death.




                                      ~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 24 of 39 Page ID
                                 #:1601



      If you find that a Defendant used excessive force against Sinuon Samantha

Pream in violation of the Fourth Amendment, you must determine whether that

conduct was malicious, oppressive, or in reckless disregard of Sinuon Samantha

Pream's rights.



      Conduct is malicious if it was accompanied by ill will, or spite, or if it was for

the purpose of injuring Sinuon Samantha Pream.



      Conduct is in reckless disregard of Sinuon Samantha Pream's rights if, under

the circumstances, it reflected complete indifference to Sinuon Samantha Pream's

safety or rights, or ifa Defendant acted in the face ofa perceived risk that his actions

would violate Sinuon Samantha Pream's rights under federal law.



      An act or omission is oppressive if a Defendant injured or damaged or

otherwise violated the rights ofSinuon Samantha Pream with unnecessary harshness

or severity,such as by misusing or abusing authority or power or by taking advantage

of some weakness or disability or misfortune of Sinuon Samantha Pream.




                                       ~~.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 25 of 39 Page ID
                                 #:1602



       The verdict must represent the considered judgment ofeach of you. To return
 a verdict, it is necessary that each juror agree. Your verdict must be unanimous.


       It is your duty, as jurors, to consult with one another, and to deliberate with a
 view to reaching an agreement, if you can do so without disregard of individual
judgment. You must each decide the case for yourself, but only after an impartial
consideration of the evidence in the case with your fellow jurors. In the course of
your deliberations, do not hesitate to reexamine your own views, and change your
opinion,ifconvinced it is erroneous. But do not surrender your honest conviction as
to the weight or effect of evidence, solely because of the opinion of your fellow
jurors, or for the mere purpose of returning a verdict.


       Remember at all times that you are not partisans. You are judges —judges of
the facts. Your sole interest is to seek the truth from the evidence in the case.




                                      ~~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 26 of 39 Page ID
                                 #:1603



       Upon retiring to the jury room, you will select one of you to act as your
 foreperson. The foreperson will preside over your deliberations, and will be your
 spokesperson here in court.


       A special verdict form has been prepared for your convenience. You will take
this form to the jury room.


                  [Read special verdict form.]




                                     ~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 27 of 39 Page ID
                                 #:1604



       At any time during your deliberations, you may submit to the Court your
 verdict as to any party concerning whom you have unanimously agreed.




                                    ~~1-
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 28 of 39 Page ID
                                 #:1605



       Nothing said in these instructions and nothing in any verdict form prepared for
 your convenience is meant to suggest or convey in any way or manner any suggestion
 or hint as to what verdict I think you should find. What the verdict shall be is your
 sole and exclusive duty and responsibility.




                                        ~ r
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 29 of 39 Page ID
                                 #:1606



       Ifit becomes necessary during your deliberations to communicate with me,you
 may send a note by a bailiff, signed by your foreperson or by one or more members
 ofthe jury. No member ofthe jury should ever attempt to communicate with me by
 any means other than a signed writing. I will never communicate with any member
 ofthe jury on any subject touching the merits ofthe case otherwise than in writing,
 or orally here in open court.


       From the oath about to be taken by the bailiffs you will note that they too, as
 well as all other persons, are forbidden to communicate in any way or manner with
any member ofthe jury on any subject touching the merits ofthe case.


       Bear in mind also that you are never to reveal to any person —not even to me
— how the jury stands, numerically or otherwise, on the questions before you, until
after you have reached a unanimous verdict.
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 30 of 39 Page ID
                                 #:1607



       The weight of the evidence is not necessarily determined by the number of
 witnesses testifying to the existence or nonexistence of any fact. You may find the
 testimony of a small number of witnesses as to any fact is more credible than the
testimony of a larger number of witnesses to the contrary.


       You are not bound to decide any issue offact in accordance with the testimony
of any number of witnesses that does not produce in your minds belief in the
likelihood oftruth, as against the testimony ofa lesser number of witnesses or other
evidence producing such belief in your minds.


       The test is not which side brings the greater number of witnesses or takes the
most time to present its evidence, but which witnesses and which evidence appeal to
your minds as being most accurate and otherwise trustworthy.




                                       3~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 31 of 39 Page ID
                                 #:1608



       During the trial, certain testimony has been presented by way of deposition.
 The deposition consisted of sworn, recorded answers to questions asked of the
 witness in advance ofthe trial by attorneys for the parties to the case.


       The testimony ofa witness who,for some reason,is not present to testify from
the witness stand may be presented in writing under oath. Such testimony is entitled
to the same consideration and is to be judged as to credibility, and weighed, and
otherwise considered by you, insofar as possible, in the same way as if the witness
had been present and had testified from the witness stand.




                                       i
                                       ~ ~'
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 32 of 39 Page ID
                                 #:1609



       The rules of evidence ordinarily do not permit witnesses to testify as to
 opinions or conclusions. There is an exception to this rule for "expert witnesses." An
 expert witness is a person who by education and experience has become expert in
 some art, science, profession, or calling. Expert witnesses give state their opinions
 as to matters in which they profess to be expert, and may also state their reasons for
 their opinions.


       You should consider each expert opinion received in evidence in this case,and
 give it such weight as you think it deserves. If you should decide the opinion of an
expert witness is not based upon sufficient education and experience,or ifyou should
conclude the reasons given in support ofthe opinion are not sound, or if you feel the
expert's is outweighed by other evidence, you may disregard the opinion entirely.




                                        3~•
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 33 of 39 Page ID
                                 #:1610



       A witness may be discredited or impeached by contradictory evidence or by
 evidence that at some other time the witness has said or done something,or has failed
 to say or do something that is inconsistent with the witness' present testimony.


       If you believe any witness has been impeached and thus discredited, you may
give the testimony ofthat witness such credibility, if any, you think it deserves.


       If a witness is shown knowingly to have testified falsely about any material
matter, you have a right to distrust such witness' other testimony and you may reject
all the testimony of that witness or give it such credibility as you may think it
deserves.


       An act or omission is "knowingly" done, if the act is done voluntarily and
intentionally, and not because of mistake or accident or other innocent reason.




                                        ?~3 .
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 34 of 39 Page ID
                                 #:1611



       Evidence that, at some other time while not under oath a witness who is not a
 party to this action has said or done something inconsistent with the witness'
 testimony at the trial, may be considered for the sole purpose of judging the
 credibility of the witness. However, such evidence may never be considered as
 evidence of proof ofthe truth of any such statement.


       Where the witness is a party to the case,and by such statement or other conduct
 admits some fact or facts against the witness' interest, then such statement or other
conduct, if knowingly made or done, may be considered as evidence of the truth of
the fact or facts so admitted by such party, as well as for the purpose ofjudging the
credibility ofthe party as a witness.


       An act or omission is "knowingly" done, if the act is done voluntarily and
intentionally, and not because of mistake or accident or other innocent reason.




                                        ~
                                        jt~ .
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 35 of 39 Page ID
                                 #:1612



      The law does not require any party to call as witnesses all persons who may
have been present at any time or place involved in the case, or who may appear to
have some knowledge of the matters in issue at this trial. Nor does the law require
any party to produce as e~ibits all papers and things mentioned in the evidence in
the case.




                                      35
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 36 of 39 Page ID
                                 #:1613



       Plaintiffs have the burden in a civil action,such as this,to prove every essential
 element of each of their claims by a preponderance of the evidence. If Plaintiffs
 should fail to establish any essential element of a claim by a preponderance of the
 evidence, then you must find for the Defendant as to that claim.


       Defendant Muhlenkamp has the burden ofestablishing the essential elements
 ofthe affirmative defense of self-defense, applicable only as to the Plaintiffs' claim
for battery. I will explain this later.


     "Establish by a preponderance of the evidence" means evidence, which as a
whole, shows that the fact sought to be proved is more probable than not. In other
words, a preponderance of the evidence means such evidence as, when considered
and compared with the evidence opposed to it, has more convincing force, and
produces in your minds beliefthat what is soughtto be proved is more likely true than
not true. This standard does not require proofto an absolute certainty, since proofto
an absolute certainty is seldom possible in .any case.


       In determining whether any fact in issue has been proved by a preponderance
of the evidence, unless otherwise instructed you may consider the testimony of all
witnesses, regardless of who may have called them, and all exhibits received in
evidence, regardless of who may have produced them.


       You may have heard ofthe term "proof beyond a reasonable doubt." That is
a stricter standard applicable in criminal cases. It does not apply in civil cases such
as this. You should, therefore, put it out of your minds.




                                          ~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 37 of 39 Page ID
                                 #:1614



    As to the Plaintiffs' claim for battery, the Plaintiffs allege that Defendant
Muhlenkamp harmed Sinuon Samantha Pream by using unreasonable force to defend
himself. To establish this claim, the Plaintiffs must prove all ofthe following:
      1.    That Defendant Muhlenkamp intentionally touched Sinuon Samantha
             Pream or caused Sinuon Samantha Fream to be touched;
       2.     That Defendant Muhlenkamp used unreasonable force to defend himself
             or others against Sinuon Samantha Pream;
       3.    That Sinuon Samantha Pream did not consent to the use ofthat force;
      4.     That Sinuon Samantha Pream was harmed; and
       5.    That Defendant Muhlenkamp's use of unreasonable force was a
             substantial factor in causing Sinuon Samantha Pream's harm.
       A police officer may use reasonable force to arrest or detain a person when he
has reasonable cause to believe that that person has committed a crime. Even if the
police officer is mistaken, a person being arrested or detained has a duty not to use
force to resist the police officer unless the police officer is using unreasonable force.
      In deciding whether Defendant Muhlenkamp used unreasonable force, you
must determine the amount offorce that would have appeared reasonable to a police
officer in Defendant Muhlenkamp's position under the same or similar circumstances.
You should consider, among other factors, the following:
     (a)     The seriousness of the crime at issue;
     (b)     Whether Sinuon Samantha Pream reasonably appeared to pose an
             immediate threat to the safety ofDefendant Muhlenkamp or others; and
     (c)     Whether Sinuon Samantha Pream was actively resisting arrest or
             attempting to evade arrest.
       A police officer who makes or attempts to make an arrest is not required to
retreat or cease from his or her efforts because of the resistance or threatened
resistance of the person being arrested.




                                         ~~~
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 38 of 39 Page ID
                                 #:1615



      As to the battery claim only, Defendant Bradley Muhlenkamp asserts that he
is not responsible for Sinuon Samantha Pream's harm because he was acting in self
defense.


      To succeed on the affirmative defense of self defense, as to the battery claim
only, Defendant Muhlenkamp must prove both of the following:


      1.    ThatDefendant Muhlenkamp reasonably believed that Sinuon Samantha
            Pream was going to harm him; and


      2.    That Defendant Muhlenkamp used only the amount of force that was
            reasonably necessary to protect himself.




                                      ~►
Case 2:17-cv-04295-TJH-FFM Document 115 Filed 03/22/19 Page 39 of 39 Page ID
                                 #:1616



      The Plaintiffs claim that Sinuon Samantha Pream was harmed by the
 negligence of Defendant Muhlenkamp and Defendant Domingo.


      To establish this claim,the Plaintiffs must prove all ofthe following as to each
Defendant:
      1.     That the Defendant was negligent;
      2.     That Sinuon Samantha Pream was harmed; and
      3.     That the Defendant's negligence was a substantial factor in causing
             Sinuon Samantha Pream's harm.




                                      ~C
